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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

 SHARON K. RANKIN,                                )           Case No. ____________
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )
                                                  )
 W.K. STETSON MD, A licensed                      )
 Physician; C.A. SUTERA MD, A licensed            )          NOTICE OF REMOVAL
 Physician; CHADRON MEDICAL                       )
 CLINIC PC, A Nebraska Professional               )
 Corporation; and DOES I - X, inclusive.          )
                                                  )
        Defendants.                               )
                                                  )
                                                  )
                                                  )


        Sharon Rankin, Plaintiff in the above-captioned matter, by and through her counsel of

record, removes this action from the District Court of Dawes County, Nebraska to the United States

District Court for the District of Nebraska. Removal is proper under the following grounds:

        1.      This action was commenced in the District Court of Dawes County on October 28,

                2004, and said action is still pending. At that time, Rankin was a resident of

                Chadron, Dawes County, Nebraska.

        2.      On January 2, 2007, the Dawes County District Court case was dismissed pursuant

                to an order granting Defendants Motion for Summary Judgment. Plaintiff appealed

                that order at the Nebraska Court of Appeals. The Nebraska Supreme Court, on its

                own motion, removed that matter to its docket. On May 23, 2008, the Nebraska

                Supreme Court ruled in favor of Mrs. Rankin, reversing the order granting

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               Defendants Motion for Summary Judgment and remanding the matter for trial.

       3.      While the Dawes County District Court was divested of jurisdiction due to the

               pendency of the appeal, Sharon Rankin moved from Chadron, Nebraska to Huber

               Heights, Ohio, and is now a citizen of the State of Ohio.

       4.      Defendants herein remain citizens of the State of Nebraska.

       5.      The amount in controversy, exclusive of costs, exceeds $75,000.00.

       6.      This Court has original jurisdiction over this action because complete diversity exists

               between the parties pursuant to 28 U.S.C. §1332 and §1441. Removal of this action

               to the United States District Court for the District of Nebraska is proper under 28

               U.S.C. §1441(a).

       7.      This notice has been filed with this Court within thirty (30) days of the return of the

               mandate of the Nebraska Supreme Court to the Dawes County District Court.

       8.      The United States District Court for the District of Nebraska embraces the District

               Court of Dawes County, Nebraska.

       9.      A notice of the filing of this Notice of Removal will be filed in the District Court of

               Dawes County, Nebraska.

       Wherefore, Plaintiff removes this action from the District Court of Dawes County, Nebraska

to the United States District Court for the District of Nebraska; to request that the place of trial be

held in North Platte, Nebraska, before a jury.



                                               SHARON K. RANKIN, Plaintiff



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                                                 s/Maren Lynn Chaloupka
                                             By_______________________________________
                                                    Robert P. Chaloupka NSBA #10653
                                                    Maren Lynn Chaloupka NSBA #20864
                                             CHALOUPKA, HOLYOKE, HOFMEISTER,
                                             SNYDER & CHALOUPKA, L.L.O.
                                             1714 Second Avenue
                                             P.O. Box 2424
                                             Scottsbluff, NE 69363-2424
                                             Telephone: (308) 635-5000
                                             Telecopier: (308) 635-8000




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the Notice of Removal was
sent via CM/ECF filing to the following on this 18th day of June, 2008:

       Lonnie R. Braun
       1301 Omaha Street, Suite 224
       PO Box 8108
       Rapid City, SD 57709-8108
                                                        s/Maren Lynn Chaloupka
                                                     __________________________________




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